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        The plaintiff demands ftat the case be tied by a jury,



                                                                        CERTIFICATION

                                      By signing dris Complaint, I certifr that the facts stated h this
                                      Complaint arc tnre to the best of my knowiedge, information and
                                      belief. I uuderstald that if this ccrtification is not correct, I may be
                                      subject to sanctions tyrtt" Corrt.

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                                                                        06/07/22 Page 16 of 23 PageID #:16
                          cooK cguNw   SHERIFF'S OFFICE (OFICINA     SHERIFF DEL CONDADO DE COOK)

                          INMATE DISCIPLINARY REPORT 1NFzRME DtsctpLtNARto tNrERNo)
                                                                                                                                                                            'lB.
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lnmate's Name (Prlntl (Nombrc dcl recluto lmPilml4:

             Christopher Wheeler


                                               Date of lnfraction:           Time of lnfraction:                    location of ln rdstioo ilugar de la lnfracccionl:
 EI VERBALWARNING
 E FORMALCHARGE                                       4hl2022                         1:30 AM                                      DIVISION 1O

                                                                                                             CHARGE

                                     Fighting


   Victim         I     tnmate

   Witness        I     st"r                                                                                                                Michael Plata


   Witness E Sruf                     [t   Other: Particioant ,                                                                             Christopher Wheeler
   Victim         I     tnmate

   Witness        I     star                                                                                                                T Jacob



   apx. 0115hrs. on 1 April 22 R/O T. Jacob #15609 heard a commotion on tier 18. R/O went into the living unit and found inmate
Plata,Michael 20201215085 in cell 1221 standing between the door and the bunks and his face was bleeding. I radioed for Sgt. Schnolis #3233
to report to 1B.The second person in cell 1221 was inmate Wheeler, Christopher 20170330135. Several officers and Sgt. Schnolis arrived on ].8
and both inmates were removed from cell LllLwithout further incident and inmate Plata, Michael 20201215085 was taken to Cermak
Hospital for medical evaluation.End of report




 lnter-Atencv Health lnquiry Submitted:                                      Assessmentcompleted: E          Orun                                                              Assessment Reccived:

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 Classifi cation Unit Personnel (Pnhtl:



 Reporting Personnel's Name {Pnhtf.'

                       Jacob, T                                                                                     /s/ Jacob, T, Star # 15609                                    4t1t2022
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                      Schnolis, D                                                                                /s/ Schnolis, D, Star # 3233                                      4t112022
                                                                                                                                                                                 2:12:06 AM
 Watch Commander (Printl:

                       Wolfe, M                                                                                      /s/ Wolfe, M, Star # 763                                      4t1t2022
                                                                                                                                                                                  2:26139 AM
 Discipllnary Report Dellvered to Inmareby Pdnt Ndme): (lntorme discipllndrio entregddo dl reduso por:)

                                                           Shavers, A



(FcN-8sXsEp       12)       Any lnformation and Reports produced from the Cook County offender Management System (CcoMS) is for                                     internal      pAGE 1 oF 2
                                   distribution only. For an official copy of a report from CCOMS, contact the Business lntelligence Unit dt
                                                                      CCSO. DataReouest@cookcountvil.oov
                       Case: 1:22-cv-03020 Document #: 1 Filed: 06/07/22 Page 17 of 23 PageID #:17
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                                             2:30:01 AM                                  /s/Shavers, A, Star #18462                   '            \




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(FCN-ssXsEP 12)    Any lnformalion and Reports produced from the Cook County Offender Mdnagement System (CCOMS) is for internal                          PAGE 2 OF 2
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                                             SHERIFF'S OFFICE OF COOK COTINTY                                          '/
                                              OFFICE OF PROFESSIONAL REYIEW                                             ii
                                                   COMPLAINT REGISTER                                                       i
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  I HAVE BEEN NOTIFIED THAT, PIJRSUANT TO 50 ILCS 7258.8(b), ANYONE FILING A COMPLAINT AGAINST A SWORN PEACE OFFICER
                              MUST HAYE TIIE COMPLAINT SUPPORTED BY A SWORI\I AFFIDAVIT.




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       AGAINST WHOM YOU WISH TO FILE A COMPLAINT:




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       IF YES, PROVIDE CONTACT INFOR"NIATION.
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                      PROYIDE A FULL DETAILED ACCOUNT OF YOUR COMPLAINT AND TIIE NATURE OF TIIE INCIDENT.


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PLEASE BE AWARE THAT IF YOU ALLEGE INJURIES AS A RESULT OF THIS INCIDENT, DUE TO FEDERAL
PRIVACY LAWS ON THE RELEASE OF MEDICAL RECORDS, YOU MUST PROYIDE COPIES OF YOUR
RELEVANT MEDICAL RECORDS REGARDING ANY EXAMINATION OR TREATMENT TO THE STIERIFF'S
OFFICE IIWESTIGATING TJNIT TO BE MADE PART OF THE INVESTIGATION.
I have read this statement that I have voluntarily made, consisting               4-pages, and I solemnly swear                    facts and
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allegations contained within are true and correct to the best of my knowledge.
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Complainant's Signature:

State of lllinois )
CountyofCook )

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                                  Please mail your completed, signed and notarized, complaint form to:

                                           Cook County Sheriffs Office of Professional Review
                                                               . 3026 S. California
                                                                Chicago, IL. 60608
                            Case: 1:22-cv-03020
                            COOK COUNTY          Document
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                              (Oficfnq del Alguocil del Condado de Cmk)

                              INMATE GRIEVANCE FOnfvf,/                              r/ l
                              (Formulariode Quejo del Preso)



 E Grievance                                                                                              EI Superintendent:
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  Thegrlened issue must not b€ a repeat submission.dfa grievancethat previouslyreceired a response and you chose notto appealtheresponse wlthln 15 calendat days
 The grieved issue must not contain offensive or harassint language.
 Thegrievanceform must notcontain more than one issue



  El asunto de la queia tiene que satisfacer todo el crierb llstado mls abajn pan obtener un ndmero de contol, para ser apehdo y/o agotar todos hs mmedbs posibhs.


 seguridad o custodb de protecciri,npara los presoe, odecisionesdel oficial de audiencias disciplinarias para los presos.



 (TRc/cRwl.
 El asunto de la queia no puede ser una repetici6n     de una queja sometida en los dhimos 15 dias calendarios.
 El asunto de h queia no puede ser una rep€tici6n      de una queia previamente recibida y la cual ya.ha recibido una respuesta yfue apelada.


 los 15 diascalendarios.
 El asunto de h queia no puede contene      lenguaje ofensivo oamenazante
 La solttudde la queia no puede contenef, mds de un asunto.
 El asunto de h queia no puede correspondera      asuntos no relacionados con la circeltal como preocupaciones sobre h agencia de arresto, asuntosiudiciales, oempleados mddicos de


 REQUIRED -                       REQUIRED.                         REQUIRED.                                                   REQUIRED.
 OATE OF INCIDENT                 TIME OF INODETTT                 SPECIFIC   I.OCANOil OF INOD€NT                               NAME and/or IDENIFE(SI OF ACCISED
 (Fecho del lrcidente)            (Horod del lncidente)            (Lugor Esrecifrco &l lncidente)                              (Nombre y/o l&ntificui6n del kwob)



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 NAME OF STAFF OR INMATE(SI HAVNG INFORMATION REGARD INGTHISCOMPTAINT:
 (Nombre del personolo presos queEngon informaci6n:)                                                                             ' ::::> -**"?              :




(FCN-73XNOV 17)                       (wHrTE COPY- TNMATE SERVTCES) (YErrOW COPY-CRWPLATOON COUNSELOR)                                                                      {P|NK COPY - TNMATE)
                                     Case: 1:22-cv-03020
                                     COOK COUNTY          Document
                                                   SHERIFF'S OFFICE #: 1 Filed: 06/07/22 Page 21 of 23 PageID #:21
                                        (Oficino del Alguocil delCondqdode Cak)

                                       INMATEGRIEVANCE                              FORM; ',1 ^1
                                       (Formulorio de Queja del Preso)




 E Grievance                                                                                                            EI Superintendent:
 E Non{gmpliant,Grievance                                                                                               E other:
 PRI'{I - NMATE tASt I{AME (Apellido del Preso):                                            PRT'IT - FnSINAME (Primer Nombre):                       ilMATE BOOK ING NUMBER {#deident if@ d6n de I Prcso)


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                                   Your grhrrcd issue mttst meet a[ criterh listed below in order to be assfned a control #, to be appealed and/or to exhaust ]emedies.

 dlscipllnary headngs offf cer.




 Thegriercd issuemustnot bea repeatsubmlssionofaSrievancethat previouslyreceiveda responseand wasappealed.
 Thegrierrcd issue must not bea.repeat submission ofa grievancethat previously recei\Ed a responseand you drose notto app€althe responsewithin 15 calendrr dap
 The grieved issue must not contain offensiveor harassing                      languaSe.
 The grievanceform must not contain more than one issue.




  El asunto de la queja tiene que satishcer todo..6l crieril listado mCs abair para obEner un nf mero de control, para ser apelado y/o                              4mr odos los emedbs posibles.
 s€guridad o custodia de protecci6n para los presc, o declsionesdel oficial de audiencias dlsciplinadas paralos presos.



 FRc/cRwl.                                                         .//
 El asunto de h queja no puede ser una repetici6n de unaqueia som€tida an los 0himos 15 dlas calendarios.
 Elasunto de la queja no puede ser una repetici6n de una queia previamerte recibida y la cualya ha recibido una reipGitb.y fueapqladq. \

 los 15 dlas   calendarios.                                                                                                                                     ,.                     B _-
 El asunto de h queja no puede contener  lenguaje ofensivo o amenazante
 La solltud de h quqa llo puede contener mCs de un asunto.




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 NAME OF SIAFFOR INMATE(S} HAVNG INFORMATION REGARD ING TH ISCOMPtAIt.IT:                                                            NMATTjEUItttE    : ( F i rm o d e I P re so ) :

 ( N o m b re de I pe rson   o I o p re sos q ue E ng o n i nlo rm ocidn : )


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                         COUNSETOR         {Print):                                               SENATURE:




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                                 Alguocit {el tondado de Cook)
                                                                                                                                          {-eq{ry.
                  ..IN MATE G RI EVANC E R ESPON SE/APPEAI FORM
                * {Foymulario de Queja del Preso/ Apelaci6n)




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             To exhaust administratiwfe*edies, grievance appeals must be mdde within 15 calendar days of the dite the inmate received the response. An
             appea.l;mu6!befiledinaI|circumstancesjnordertoexhaustadministrativeremedies.
             (&in el fin de agotar log rccursos admiriislratiws, los apelociones de los quejas se deben realizar en el plozo de 15 dias despues de que el recluso
             haya recibido lo respuesto. Lo opelacian se debe envior en todos tos casos o Iin de ogotor los recursos odministrdtivos.)




             TE OF INMATE'S REQUEST FOR AN APPEAL: (Fecho de lq solicitud de lo opelocion del preso:)


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             ADMINISTRATOR/DESIGNEE'S ACCEPTANCE OF INMATE'S APPEAL? Yes /SrJ tr
                                                    e I ad mi n i stro dor o/su desi g no do(o ) ?)
INMATESERVICESDIRECTOR/DESIGNEE'SDECISIONORRECOMMENDATION:            (DecisionoLetgesndoci6nporpdrtedelodmiiistrddry.b/sude
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                                                                                                  IED BY INMATE!
                                                                                                              DATE APPEAL RESPONSE WAS RECEIVED: (Fecho en que lo respuesto fue   2
                                                                    Delv Via COVIDt9
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